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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT



ROBERT ASHLUND,                                             Civil No. 3:17-cv-65 (JBA)
       Plaintiff,

v.

I.C. SYSTEM, INC.,                                          July 18, 2018
       Defendant.
                                             JUDGMENT

       This matter came on for consideration on the Plaintiff’s Motion for Summary Judgment

[Doc. #69] and the Defendant’s Motion for Summary Judgment [Doc. #73] before the Honorable

Janet Bond Arterton, United States District Judge. The Court reviewed all of the papers filed in

conjunction with the motions and on July 17, 2018 entered a Ruling [Doc. #94] DENYING

Plaintiff’s Motion and GRANTING Defendant’s Motion.

       It is therefore ORDERED, ADJUDGED, and DECREED that judgment is entered in favor

of the Defendant and the case is closed.

       Dated at New Haven, Connecticut, this 18th day of July, 2018.

                                                    ROBIN D. TABORA, Clerk

                                                 By________/s/___________________
                                                    Breigh Freberg, Deputy Clerk
EOD: July 18, 2018
